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Nevada Bar No. 499

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Attorney for Plaintiff
Smita Maity

Page 1 of 17

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

SMITA MAITY, as trustee of the MAITY
MEDICAL ASSOCIATES DEFINED
BENEFIT PLAN,

Plaintiff,
VS.

CALANT CAPITAL, LLC, an Nevada limited
liability company; FIRST CONSOLIDATED
INVESTMENT MANAGEMENT, INC.,, a
Nevada corporation, d/b/a ELYSIEN
PRIVATE WEALTH; ANTHONY
DEPASQUALE, an individual; DAVEY
INSURANCE MARKETING, INC., a
California corporation, d/b/a PACE TPA;
RICHARD CROMWICK, an individual;

Defendants.

 

 

 

Case No.:

VERIFIED COMPLAINT

1) Breach of Contract;

2) Breach of the Covenant of Good Faith
and Fair Dealing;

3) Fraudulent or Intentional
Misrepresentation; |

4) Constructive Fraud;

5) Conversion;

6) Securities Fraud NRS §§ 90.570, 90.660;
Rule 10(k)

7) Constructive Trust; and

8) Violation of 29 U.S.C. § 1001 et seq.
(ERISA).

JURY DEMAND

COMES NOW, Plaintiff, SMITA MAITY, as trustee of the MAITY MEDICAL

ASSOCIATES DEFINED BENEFIT PLAN (hereinafter “Plaintiff’), by and through her

 

 

 
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Counsel HAROLD P. GEWERTER, ESQ. of HAROLD P. GEWERTER, ESQ, LTD, and for
her Complaint against the Defendants, and each of them, alleges and avers as follows:
JURISDICTION AND VENUE

1, This action is brought pursuant to 29 U.S.C. § 1001 et seq. Jurisdiction is based
upon the “Employment Retirement Security Act of 1974,” as amended, (ERISA) and the
aforementioned statutory provisions. The court further has jurisdiction pursuant to Section 10(b)
of the Securities Act of 1933 and Rule 10(b)(5) as promulgated by the Securities and Exchange
Commission (SEC), This Court has supplemental jurisdiction over any state law claims pled
herein pursuant to 28 U.S.C. §1367.

2. All material allegations relative to the named defendants contained in this
Complaint are believed to have occurred in the State of Nevada, Clark County. Therefore,
venue properly lies in the southern division of the United States Court for the District of Nevada
pursuant to 28 U.S.C. §1391(b)(2).

PARTIES

3. Plaintiff, Smita Maity is and was at all times material to this action an individual
residing in the State of Nevada.

4. That at all times pertinent hereto, Plaintiff Maity was the trustee of the Maity
Medical Associates Defined Benefit Plan.

5. That the Maity Medical Associates Defined Benefit Plan is a retirement plan
established pursuant to and governed by ERISA.

6. Defendant, Calant Capital LLC, is a Nevada limited liability company was at all
times material to this action doing business in Clark County, Nevada as an owner of and/or an

investor in certain businesses in Nevada.

 

 

 
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7. Defendant, First Consolidated Investment Management, Inc. is a Nevada
Corporation which at all times material to this action was doing business in Clark County,
Nevada as Elysien Private Wealth.

8. That First Consolidated Investment Management Inc. d/b/a Elysien Private
Wealth is and was at all times pertinent hereto a business which offered investment management
services,

9. Defendant, Anthony Depasquale, is and was at all times material to this action
the Managing Member of Defendant Calant Capital, LLC.

10. That upon information and belief, Defendant Anthony Depasquale is and was at
all times pertinent hereto the owner and de facto principle operator of Defendant First
Consolidated Investment Management Inc. d/b/a Elysien Private Wealth.

Il. That pursuant to the records of the Nevada Secretary of State, the officers of
Defendant First Consolidated Investment Management Inc. are: Defendant Anthony
Depasquale, Secretary; Anthony Depasquale, III, President; and Linne Depasquale, Director.

12. That Plaintiff reserves the right to amend the instant Complaint to include
Anthony Depasquale, III and Linne Depasquale as Defendants hereto as participants in the
fraudulent scheme described infra.

13. That Defendant, Davey Insurance Marketing, Inc., is a California corporation
illegally doing business in the State of Nevada.

14. That Defendant Davey Insurance Marketing Inc. is and was at all times material

to this action doing business in Clark County, Nevada as “PACE TPA” and/or “PACETPA.”

 

 

 
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15. | That Defendant Davey Insurance Marketing, Inc. d/b/a PACE TPA is in the
business of offering financial services including, but not limited to, defined benefit pension
plans, 401(k) plans, profit sharing plans, and administration services.

16. That Defendant, Richard Cromwick, is and was at all times pertinent hereto a
pension plan specialist employed by Defendant Davey Insurance Marketing, Inc. d/b/a PACE
TPA.

17, That Defendant Richard Cromwick was at all times pertinent hereto acting in his
capacity as a pension plan specialist in furtherance of his employment with Defendant Davey
Insurance Marketing, Inc. d/b/a PACE TPA.

GENERAL ALLEGATIONS

18. That Plaintiff is a medical doctor practicing in Las Vegas, Nevada and owner of
Maity Medical Associates, Inc. (“Maity Medical”),

19. That on or about 2014, Maity Medical and Plaintiff opened a defined benefit plan
with Defendant Davey Insurance Marketing, Inc. d/b/a PACE TPA.

20. That said plan established the Maity Medical Associates Defined Benefit Plan, of
which Plaintiff was the trustee and sole beneficiary.

| 21. That Defendant Cromwick was the plan administrator of the Maity Medical
Associates Defined Benefit Plan on behalf of Defendant Davey Insurance Marketing, Inc. d/b/a
PACE TPA and pursuant to his employment therewith.

22. That knowing the amount of assets held in the Maity Medical Associates Defined

Benefit Plan, on or about 2015 Defendant Cromwick discussed said assets with Defendant

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Depasquale.

 

 

 
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23. That thereafter, all Defendants conspired to fraudulently convert the assets held
by the Maity Medical Associates Defined Benefit Plan in violation of ERISA and Nevada state
and federal securities laws.

24. That on June 12, 2015, Defendant Cromwick sent Plaintiff an email stating as
follows:

I met with Tony DePasquale who is vice president at Bank of New York

Mellon last week and your name came up in conversation. Tony asked me if I

would be willing to introduce the two of you.

In addition, we need to do an annual plan review. I would like to do [sic]

set up a meeting and Tony mentioned he would buy lunch if you are open to

meeting with us.

I have known Tony for a long time, and he specializes in assessing risk

inside of investment portfolios. What time in the next couple of weeks might

work for you?

25. That over the course of the next two (2) years, Defendants Cromwick and
Depasquale pressured Plaintiff into improperly investing the assets held by the Maity Medical
Associates Defined Benefit Plan into Depasquale’s various business ventures,

26. That on or about 2017, the Maity Medical Associates Defined Benefit Plan held
cash and/or other assets valued at approximately SEVEN HUNDRED FIFTY THOUSAND
DOLLARS ($750,000.00).

27. That on or about the fall of 2017, Defendants Cromwick and Depasquale
persuaded Plaintiff to invest and loan the entirety of the assets held by the Maity Medical

Associates Defined Benefit Plan into Defendant Calant Capital, LLC and/or Defendant First

 

 

 

 
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Consolidated Investment Management Inc. d/b/a Elysien Private Wealth so that Depasquale
could open a Big Whiskey’s American Restaurant & Bar franchise in Las Vegas, Nevada at
Town Square.

28. That Plaintiff at all times relied upon the advice of all Defendants.

29, That Defendants used deceit, fraud, bait-and-switch, lies, and other untoward
tactics to induce Plaintiff to re-invest the assets held by the Maity Medical Associates Defined
Benefit Plan.

30. That Defendants induced Plaintiff to believe that the Maity Medical Associates
Defined Benefit Plan would be an investor/owner of Depasquale’s Big Whiskey’s American
Restaurant & Bar franchise.

31. That Defendants knowingly, falsely and fraudulently promised Plaintiff that the
assets then-held by the Maity Medical Associates Defined Benefit Plan (approximately
$750,000.00 in 2017) would almost double in value by December of 2032 if Plaintiff would
invest the Plan’s assets into the Big Whiskey scheme.

32. That Defendants Richard Cromwick and Davey Insurance Marketing, Inc. d/b/a
PACE TPA drafted a document entitled “Maity Medical Associates, Inc. Consent Action of the
Directors” which authorized Plaintiff to convey the money held by the Maity Medical
Associates Defined Benefit Plan per Defendants’ scheme.

33. That the bottom of said “Maity Medical Associates, Inc. Consent Action of the
Directors” contained the footnote “Copyright 2002-2013 PACE TPA.”

34. That on December 8, 2017, Defendants Richard Cromwick and Davey Insurance
Marketing, Inc. d/b/a PACE TPA obtained Plaintiffs signature on the “Maity Medical

Associates, Inc. Consent Action of the Directors.”

 

 

 

 
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35, That on December 8, 2017, Defendants obtained Plaintiff’s signature on a “Loan
Agreement” for the sum of $750,000.00.

36. That said “Loan Agreement” was by and between Defendant Calant Capital,
LLC (“Borrower”) and Maity Medical Associates Defined Benefit Plan (“Lender”).

37. That said “Loan Agreement” specifically stated that the loan was related “to a
Big Whiskey’s American Restaurant & Bar franchise.”

38, That also on December 8, 2017, Defendant Calant Capital, LLC executed a
Promissory Note in favor of Maity Medical Associates Defined Benefit Plan for $750,000.00
plus interest in the amount of $10% over fifteen (15) years.

39. That pursuant to the agreements/notes, Defendant Calant Capital, LLC, would
repay the loan by making monthly payments to Maity Medical Associates Defined Benefit
Plan’s Schwab One Trust Account.

40. That on December 11, 2017, Defendants induced Plaintiff to sign an “Investment
Management Agreement” by and between Plaintiff and Defendant First Consolidated
Investment Management Inc. d/b/a Elysien Private Wealth.

41. That said “Investment Management Agreement” was signed by Defendant
Depasquale on behalf of Defendant First Consolidated Investment Management Inc. d/b/a
Elysien Private Wealth.

42. That said “Investment Management Agreement” granted Defendant Depasquale
the title of “Manager” over the Maity Medical Associates Defined Benefit Plan and its assets.

43. That on December 15, 2017, Defendant Depasquale sent Plaintiff the following

email:

 

 

 
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I just wanted to follow up with you. I spoke with Rich [Defendant Richard

Cromwick], and we can open a 401(k) plan for you, but the plan would have to

be established prior to the end of the year. We can contribute an additional

$51,000 of tax deductible investments per year (I am verifying the amounts with

Rich) into this aspect of the plan.

44, That on or about March of 2018, Defendant Calant Capital, LLC began making
monthly loan payments to Maity Medical Associates Defined Benefit Plan’s Schwab One Trust
Account.

45. That on or about March of 2019, Defendants opened their Big Whiskey’s
American Restaurant & Bar franchise.

46. That on or about August of 2019, Defendants’ Big Whiskey’s American
Restaurant & Bar franchise closed.

47. That Defendant Calant Capital, LLC did not make its monthly loan payment to
Maity Medical Associates Defined Benefit Plan.

48. That pursuant to the Loan Agreement, Plaintiff notified Defendants Calant
Capital, LLC and Anthony Depasquale that Calant was in default of the loan and that she was
calling the entire loan due immediately.

49. That after closing the Big Whiskey’s American Restaurant & Bar franchise,
Defendants then opened a Farmtable Kitchen + Spirits restaurant in the same location in
November of 2019.

50. That on December 28, 2019, Defendant Depasquale attempted to change the
terms of the 2017 Loan Agreement and Promissory Note by sending correspondence to Plaintiff

which stated:

 

 

 
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This letter is an outline to repay the note for Calant Capital LLC. As of January

2020, you will begin to receive monthly payments again on an ongoing basis,

since we have re-opened and continued operations. By July of 2020, I will have

a structured repayment take out your debt portion of the endeavor. I will keep

you posted on if that will be through another investor coming in and refinancing

the debt or if it will be an increase in payments to take out your debt early.

51. Plaintiff did not accept these altered instruments and loan terms, as Defendants
were already in default of the loan and its obligations and it had been called due.

52. That Defendants have failed and refused to repay the loan or make any payments
towards the amount owed. The loan investment documents, originally and as altered, were not a
viable investment for the benefit of Plaintiff as Defendants never could have or intended to
repay Plaintiff. The actions of Defendants, and each of them, were relied upon by Plaintiff and
constitute fraud, deception, breach of contract, securities fraud and other violations as set forth

in this Complaint.

FIRST CAUSE OF ACTION
BREACH OF CONTRACT
AGAINST ALL DEFENDANTS
53. Plaintiff repeats and realleges paragraphs 1 through 52 and incorporates them by
reference as though fully set forth herein.
54. That there exists valid and enforceable contracts between Plaintiff and the
Defendants, as set forth above.

55. That a breach of said contracts has occurred on the part of the Defendants, as set

forth above.

 

 

 
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56. That Plaintiff has suffered damages as a result of said breaches of contract in an
amount to be determined at trial.

57, That as a result of Defendants’ actions, Plaintiff has been required to retain the
services of an attorney to prosecute this action and, therefore, are entitled to an award of

reasonable attorney’s fees and costs incurred herein.
SECOND CAUSE OF ACTION
BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING
AGAINST ALL DEFENDANTS
58. Plaintiff repeats and realleges paragraphs | through 57 and incorporates them by
reference as though fully set forth herein.
59. Plaintiff entered into valid and existing contracts with Defendants, as set forth
above.
60. Each and every contract in Nevada incorporates an implied covenant of good
faith and fair dealing.
61. In the contracts averred herein, Defendants owed to Plaintiff a duty of good faith
and fair dealing.
62. Defendants breached their duty to Plaintiff by performing in a manner that was
unfaithful to the purpose of the contracts.
63. As a consequence of Defendants’ conduct, Plaintiff's justified expectations were
denied, and Plaintiff has sustained damages thereby in an amount to be proven at trial.
64. That as a result of Defendants’ actions, Plaintiff has been required to retain the

services of an attorney to prosecute this action and, therefore, are entitled to an award of

reasonable attorney’s fees and costs incurred herein.

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THIRD CAUSE OF ACTION
FRAUDULENT OR INTENTIONAL MISREPRESENTATION
AGAINST ALL DEFENDANTS

65. Plaintiff repeats and realleges paragraphs 1 through 64 and incorporates them by
reference as though fully set forth herein.

66. Defendants made numerous false representations to Plaintiff, as set forth above.

67. Said representations to Plaintiff were made with knowledge or belief that the
representations were false or without a sufficient basis for making the representations.

68. Defendants intended to induce Plaintiff to act or refrain from acting based on the
representations.

69. Plaintiff justifiably relied on said representations.

70. Plaintiff was damaged as a result of her justifiable reliance in an amount to be
determined at trial.

71. That as a result of Defendants’ actions, Plaintiff has been required to retain the
services of an attorney to prosecute this action and, therefore, are entitled to an award of
reasonable attorney’s fees and costs incurred herein.

FOURTH CAUSE OF ACTION
CONSTRUCTIVE FRAUD
AGAINST ALL DEFENDANTS
72. Plaintiff repeats and realleges paragraphs 1 through 71 and incorporates them by
reference as though fully set forth herein.
73. Under Nevada law, a confidential relationship exists where one reposes special

confidence in another so that the latter, in equity and good conscience, is bound to act in good

faith and with due regard to the interests of the former.

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74. That Defendants owed an equitable duty to Plaintiffs arising from a confidential
and fiduciary relationship when Plaintiff turned over her valuable business and control of her
fortune to Defendants based on the Defendants’ representations that Plaintiffs would receive
substantial financial benefits,

75. That Defendants breached that duty by misrepresenting material facts relating to
the outcome and effects of Plaintiff’s agreement to their investment scheme.

76. That Defendants further breached their duty by concealing material facts relating
to the outcome and effects of their fraudulent investment scheme.

77, That as a result of Defendants’ fraud, Plaintiff sustained damages in an amount to
be proven at trial.

78. That as a result of Defendants’ actions, Plaintiff has been required to retain the
services of an attorney to prosecute this action and, therefore, are entitled to an award of
reasonable attorney’s fees and costs incurred herein.

FIFTH CAUSE OF ACTION
CONVERSION
AGAINST ALL DEFENDANTS
79. Plaintiff repeats and realleges paragraphs 1 through 79 and incorporates them by
reference as though fully set forth herein.

80. That Defendants exercised numerous distinct acts of dominion wrongfully

exerted over Plaintiff's personal property, as set forth above.

81. That said acts of dominion were in denial of, or inconsistent with her rights in
said property.
82. That said wrongful dominion by Defendants were in derogation, exclusion, or

defiance of Plaintiff's title or rights.

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83. That as a result of Defendants’ actions, Plaintiff has been required to retain the
services of an attorney to prosecute this action and, therefore, are entitled to an award of

reasonable attorney’s fees and costs incurred herein.
SIXTH CAUSE OF ACTION
SECURITIES FRAUD — NRS §§ 90.570 and 90.660 and SECTION 10(b) OF THE
SECURITES ACT OF 1933 and RULE 10(b)-5 as PROMULGATED THEREUNDER
AGAINST ALL DEFENDANTS

84. Plaintiff repeats and realleges paragraphs 1 through 83 and incorporates them by
reference as though fully set forth herein.

85, Section 90.570, Subsection 2 of the Nevada Revised Statutes makes it unlawful
for a person to make an untrue statement of a material fact or omit to state a material fact
necessary in order to make the statements made not misleading in the light of the circumstances
under which they are made. Section 90.660 of the Nevada Revised Statutes provides, in part,
that a person who offers or sells a security in violation of Subsection 2 of Section 90.570 is
liable to the person purchasing the security.

86. <A violation of Section 10(b) of the Securities Act and Rule 10(b)-5 as
promulgated by the SEC provides that it is fraud to make a false and misleading statement in
connection with “the purchase or sale” of a security.

87. As detailed in the General Allegations supra, Defendants, in order to induce
Plaintiff to enter into a various agreements, made untrue statements of material fact and omitted
to state material facts necessary in order to make the statements made not misleading in the light
of the circumstances under which they were made, including without limitation those statements
and omissions enumerated in this Complaint.

88. That said agreements and loan documents constitute a security under Nevada

state law and federal law and are a sale of securities to Plaintiff.

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89. The actions of Defendants operated as a fraud or deceit upon Plaintiff.

90. As aresult of Defendants’ actions and omissions, Plaintiff has sustained damages
in an amount to be proven at trial.

91, That as a result of Defendants’ actions, Plaintiff has been required to retain the
services of an attorney to prosecute this action and, therefore, are entitled to an award of

reasonable attorney’s fees and costs incurred herein.

SEVENTH CAUSE OF ACTION
CONSTRUCTIVE TRUST
AGAINST ALL DEFENDANTS

92. Plaintiff repeats and realleges paragraphs | through 91 and incorporates them by

reference as though fully set forth herein.

93. That a confidential relationship exists between Plaintiff and all Defendants.

94. That the retention of legal title and control over the funds belonging to Maity
Medical Associates Defined Benefit Plan by Defendants would be inequitable.

95. The existence of such a trust is essential to the effectuation of justice.

96. That as a result of Defendants’ actions, Plaintiff has been required to retain the
services of an attorney to prosecute this action and, therefore, are entitled to an award of
reasonable attorney’s fees and costs incurred herein.

EIGHTH CAUSE OF ACTION
VIOLATION OF 29 U.S.C. § 1001 et seg. (ERISA)
AGAINST ALL DEFENDANTS

92. Plaintiff repeats and realleges paragraphs | through 91 and incorporates them by
reference as though fully set forth herein.

93. That Defendants have denied Plaintiff her benefits under ERISA § 502(a)(1)(B).

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94. That Defendants are in breach of their fiduciary duties to Plaintiff under ERISA

 

§ 502(a).

95. That Defendants have knowingly participated in a scheme which denies Plaintiff
her rights under ERISA § 502(a)(3).

96. Asaresult of Defendants’ actions and omissions, Plaintiff has sustained damages
in an amount to be proven at trial.

97. That as a result of Defendants’ actions, Plaintiff has been required to retain the
services of an attorney to prosecute this action and, therefore, are entitled to an award of
reasonable attorney’s fees and costs incurred herein.

WHEREFORE, Plaintiff prays for relief against Defendants, each of them, as follows:

ON ALL CAUSES OF ACTION

1. For compensatory damages in the principal amount in excess of One Million
Dollars ($1,000,000.00) to be proven at trial;

2. For punitive damages in the principal amount in excess of One Million Dollars
($1,000,000.00) to be proven at trial;

3. For special damages in the principal amount in excess of One Million Dollars
($1,000,000.00)to be proven at trial;

4, For a Constrictive Trust over all funds and assets emanating from Plaintiff, no
matter how titled or held.

5. For attorney’s fees and costs incurred;

6. For all damages in an amount to be proved at trial;

7. For costs of suit herein incurred;

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8. For reasonable interest on amounts due; and
9. For any such other and further relief as this Court deems just and proper.

Dated this JO day of April, 2020.

HAROLD P. GEWERTER, ESQ., LTD.

Leal Vet

HAROLD P. GEWERTER, ESQ.
Nevada Bar No. 499

1212 So. Casino Center Blvd.
Las Vegas Nevada 89104
Telephone: (702) 382-1714
Email: harold@gewerterlaw.com
Attorney for Plaintiff

Smita Maity

 

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DEMAND FOR JURY TRIAL
Plaintiff, hereby demands a Trial by Jury in the above-entitled matter.
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DATED thised O day of April, 2020.

HAROLD P. GEWERTER, ESQ., LTD,

HAROLD P. GEWERTER, ESQ.
Nevada Bar No. 499

1212 So. Casino Center Blvd.
Las Vegas Nevada 89104
Telephone: (702) 382-1714
Email: harold@gewerterlaw.com
Attorney for Plaintiff

Smita Maity

VERIFICATION
I, Smita Maity, verify under penalty of perjury that I have read the above Complaint
and its contents. I also verify that, to the best of my knowledge and recollection, the matters

stated in the Complaint are true and correct.
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S wrtea Mod
Smita Maity
Plaintiff

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